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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                            4:13CR00216-02 JM

MARQUIS D. ROBINSON

                                         ORDER

      Pending is the Government’s Motion to Dismiss Indictment against Defendant Marquis

D. Robinson. For good cause shown the Motion to Dismiss Indictment (ECF No. 64) is

GRANTED. The indictment is dismissed without prejudice.

      IT IS SO ORDERED this 24th day of November, 2014.



                                                _________________________________
                                                James M. Moody Jr.
                                                United States District Judge
